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 1   AARON D. FORD
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      Senior Deputy Attorney General
 3   State of Nevada
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 4   Carson City, NV 89701-4717
     Tel: (775) 684-1150
 5   E-mail: drands@ag.nv.gov

 6   Attorneys for D efendant
     Romeo Aranas
 I

 8                                  UNITED STATES DISTRICT COURT

 9                                        DISTRICT OF NEVADA

10   ruSTIN ODELL LANGFORD,
                                                                    Case   No.   3: 19-cv-00009-RCJ-WGC
11                         Plaintiff,

T2   VS.                                                            STIPULATION AND ORDER OF
                                                                    DISMISSAL WITH PREJUDICE
13   JAMES DZURENDA, et al.

t4                         Defendants.

15

16          IT IS HEREBY STIPULATED by and between Plaintifl Justin Odell Langford, in                    proper

L7   person, and Defendants,    by and through counsel, Aaron D. Ford, Attorney General of the State of

18   Nevada, and Douglas R. Rands, Senior Deputy Attorney General, and hereby stipulate and agree,

19   based upon the Settlement Agreement between the parties, that the above-captioned actions should

20   be dismissed with prejudice by order of this Court, with each party to bear his own costs.

2t   DATED    tnis{aay      ofNove      mber,202l.           DATED this 15th            of Novemb er,2021.

22
                                                             AARON D. FORD
                                                                             -day
23

24
                                                                     /s/ Douglas R. Rands
25                                                           By:
                                                                   DOUGLAS R. RANDS, BarNo.3572
              Pro Se                                               Senior Deputy Attorney General
                                                                   A tt o r ney s fo r D efe nd a nt s
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       Case 3:19-cv-00009-RCJ-WGC Document 34 Filed 11/23/21 Page 2 of 3




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                                        **r(

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 3                                                 IT IS SO ORDERED.

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 5
                                                   UNITED STATES DISTRICT JUDGE
 6
                                                             November 23, 2021
 t't
  I                                                DATED:

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                                         30 Filed 11/23/21
                                                  11/15/21 Page 3 of 3




 1                                         CERTIFICATE OF SERVICE
 2          I   certif,z that   I am an employee of the Office of the Attorney General,   State of Nevada, and

 3   that on this _15th day of November, 2021,         I   caused to be served, a true and correct copy   of the

 4   foregoing, STIPULATION AND ORDER OF DISMISSAL                             WITH PREJUDICE, by          U.S.

 5   District Court CM/ECF Elechonic Filing on the following:

 6   Justin Odell Langford #1159546
     Lovelock Correctional Center
 I   1200 Prison Road
     Lovelock, Nevada 89419
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10                                                                /s/ Roberta W. Bibee
                                                                 An employee of the
11                                                               Offrce of the Attomey General

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